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14                                UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                            Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                      DECLARATION OF KORY BLAKE
19    COUNTY AND MUNICIPAL EMPLOYEES,
      AFL-CIO; et al.,
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
27

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 1                                   DECLARATION OF KORY BLAKE

 2   I, Kory Blake, declare as follows:

 3          1.      I am over 18 years of age and competent to give this declaration. This declaration is
 4
     based on my personal knowledge, information, and belief.
 5
            2.      I am the Area Field Services Director (“AFSD”) for the Eastern Region in the
 6
     Organizing and Field Services department of the American Federation of State, County and Municipal
 7
     Employees, AFL-CIO (“AFSCME”). As AFSD, I am responsible for providing guidance and
 8

 9   leadership to the efforts of the International Union and affiliates in mobilizing the membership in

10   support of the union’s programs. This includes coordinating and allocating AFSCME resources to
11   affiliates within my assigned region, identifying AFSCME programs and services to meet the needs of
12
     affiliates, and engaging directly with council or local union leaders and members on organizing,
13
     contract and political campaigns. I am assigned to support AFSCME affiliates located in Washington,
14
     D.C., Maryland, and Virginia, including coordinating support and resources to AFSCME’s federal
15

16   government employee affiliates and members. I have been an AFSD for AFSCME since 2020.

17          3.      AFSCME is a national labor organization and unincorporated membership association

18   headquartered at 1625 L Street N.W., Washington, D.C. 20036. AFSCME also maintains offices in the
19   cities of Los Angeles, Oakland and Sacramento, California. AFSCME is the largest trade union of
20
     public employees in the United States, with around 1.4 million members organized into approximately
21
     3,400 local unions, 58 councils and other affiliates, including retiree councils and chapters, in 46 states,
22
     including California, the District of Columbia, and Puerto Rico. AFSCME has approximately 185,000
23

24   members in the State of California. AFSCME, through its affiliate District Council 20 and its 18

25   constituent federal government local unions, represents more than 6,000 federal civilian employees in

26   agencies and departments across the federal government.
27
            4.      AFSCME members include nurses, corrections officers, childcare providers, emergency
28
     medical technicians, sanitation workers, school bus drivers, civil engineers, policy analysts, and more.
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 1   Its members working for the federal government work to ensure aviation safety at the Federal Aviation

 2   Administration (FAA), criminal justice through the Department of Justice (DOJ), food safety and
 3
     facilitation of international trade for U.S. farmers through the U.S. Department of Agriculture (USDA),
 4
     civic engagement through service and volunteering through AmeriCorps and the Peace Corps, and
 5
     more.
 6
             5.     AFSCME organizes employees and advocates for fairness in the workplace, better
 7

 8   wages and working conditions, excellence in public services, and prosperity and opportunity for all

 9   working families. AFSCME’s core functions include providing support, guidance, and resources to our
10   affiliates, some of which are the officially recognized exclusive representatives of federal employees
11
     in various bargaining units.
12
             6.     On February 14, 2025, AFSCME bargaining unit members who are probationary federal
13
     employees began notifying the union that they were being terminated, effective immediately.
14

15           7.     At the FAA, for example, affected employees began notifying the union by phone and

16   email messages that the FAA sent these employees an email message with the subject “Notification of

17   Termination During Probationary Period.” This email informed these employees that the FAA was
18   terminating their employment, effective February 14, 2025. The email to the affected probationary
19
     employees explained to the employees that they were being removed from their position during the
20
     “probationary/trial period.” The email states: “based on your performance, you have not demonstrated
21
     that your further employment at the DOT FAA would be in the public interest.” A true and correct
22

23   copy of an exemplar of one of these notices is attached hereto as Exhibit 1.

24           8.     Similarly, at the USDA, bargaining unit members who are probationary employees

25   began notifying the union by phone, email and text messages on February 14, 2025 that the USDA sent
26
     these employees emails containing, as an attachment or within the body of the email, a letter to each
27
     employee terminating their employment, effective February 13, 2025, at 7:00 p.m. eastern time. The
28

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 1   letter to employees, titled “Notification of Termination During Probationary Period,” explained to the

 2   affected probationary employees that they were being removed from their position during the
 3
     “probationary/trial period.” The letter further states: “based on your performance, further employment
 4
     at the Agency would be in the public interest.” A true and correct copy of an exemplar of one of these
 5
     notices is attached hereto as Exhibit 2.
 6
            9.      In my position as AFSD, I have heard from or am aware of AFSCME members who
 7

 8   have been terminated as probationary employees. I am also aware of the mass terminations of federal

 9   probationary employees across the federal government.
10          10.     As of the time of this declaration, AFSCME has confirmed that at least 79 probationary
11
     federal employees who are represented by AFSCME have been terminated by the FAA, USDA, and
12
     the DOJ. At the FAA, this includes employees who were Management and Program Analysts in Facility
13
     Security, Data Scientists in Safety Analysis, Regulation Attorneys, Enforcement Attorneys,
14

15   Economists in the Forecast and Performance Analysis Division, Regulation Analysts in various

16   divisions, Computer Scientists, and others. At the USDA, this includes employees working for the

17   USDA’s Foreign Agricultural Service who were International Economists, International Trade
18   Specialists, Nutritionists, Trade Policy Analysts, International Science Advisors, Technical Assistance
19
     Specialists, International Market Specialists, and others. At the DOJ, this includes employees who were
20
     Community Outreach Specialists and Legal Assistants.
21
            11.      AFSCME is still unaware of the full scope of the terminations of AFSCME members
22

23   because some federal agencies have not provided the union lists of the affected bargaining employees.

24          12.     The mass termination of probationary employees in the federal government has harmed

25   AFSCME, its members, and the public by impeding the crucial public services provided by these
26
     members
27

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 1          13.     Immediately following the terminations, bargaining unit members reached out to

 2   AFSCME and our federal government employee affiliates en masse to request assistance and provide
 3
     clarifying information. AFSCME has received hundreds of phone calls, emails, or other
 4
     communications directly to AFSCME’s website from affected members or other concerned federal
 5
     employee members. This includes affected probationary employees, but also other non-probationary
 6
     bargaining unit members who are fearful that they will be terminated next. This flood of member
 7

 8   inquiries and requests for assistance required AFSCME to quickly divert resources and staff from other

 9   work to support our affected members and affiliates.
10          14.     AFSCME’s probationary employee members were blindsided by the terminations and
11
     their employing agencies did not notify their local unions of this drastic employment action. This lack
12
     of transparency from federal agencies made it impossible for employees to prepare for such a
13
     devastating employment action and difficult for AFSCME to quickly respond to our members’
14

15   concerns or provide guidance and information to the affected employees.

16          15.     AFSCME has also devoted significant resources to provide assistance to our federal

17   government employee affiliates and members by directing and assigning International Union staff to
18   provide assistance, counseling, and information to our members about the mass probationary employee
19
     terminations in the federal government. Since the mass terminations, affected employees are seeking
20
     counseling on their rights and protections, guidance on applying for benefits such as unemployment
21
     insurance or the continuation of healthcare coverage that usually comes from agencies after a
22

23   termination, and any clarifying information about the mass terminations because so little information

24   was shared with employees by their agencies after their terminations.

25          16.     AFSCME has assigned several AFSCME International Union staff, including myself,
26
     from various departments to address the issues arising from the mass terminations and to support our
27
     members. This includes three attorneys from AFSCME’s Office of the General Counsel to assess the
28

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 1   terminations, conduct legal research on how to protect affected members’ legal rights, and engage in

 2   legal advocacy; staff from AFSCME’s Data and Analytics department to help gather and analyze
 3
     member data to understand the scope of the terminations and engage in member outreach; several
 4
     additional staff from AFSCME’s Organizing and Field Services department not normally assigned to
 5
     assist our federal sector affiliates who are engaging directly with our affected affiliates and members
 6
     to provide support and coordinate resources; staff members from AFSCME’s Communications
 7

 8   department to help affiliates develop and send out communications to their membership and answer

 9   media inquiries about the mass terminations affecting their members; and staff from AFSCME’s
10   Federal Government Affairs department to advocate for the terminated probationary employees
11
     through federal legislative efforts.
12
            17.     The AFSCME staff that has been assigned to address the mass terminations of federal
13
     probationary employees have been diverted from other duties in furtherance of AFSCME’s mission to
14

15   organize new employees and advocate for better wages and working conditions. For example, in my

16   role as AFSD, I am also responsible for supporting more than 100 other affiliates within my region in

17   Maryland, the District of Columbia and Virgina—the overwhelming majority of which exclusively
18   represent non-federal employees—but I have had to divert a significant amount of my time from my
19
     otherwise-core labor relations representation and organizing work to focus on supporting our affected
20
     federal employee members and affiliates to address the terminations. AFSCME attorneys have also had
21
     to divert their attention from handling core representational matters on behalf of non-federal employees
22

23   to focus on conducting legal research and legal advocacy about the probationary employee

24   terminations. For example, three out of a total of eight attorneys in the AFSCME Office of the General

25   Counsel are spending an extensive amount of their workday addressing the terminations. One of those
26
     AFSCME attorneys is assigned to support AFSCME’s organizing efforts in other states but has had to
27
     temporarily pause that important representation work—which is work that grows union membership--
28

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 1   to focus on addressing the mass terminations on an almost full-time basis. AFSCME has spent hundreds

 2   of staff hours on this matter since learning about the terminations from our probationary employee
 3
     members that they were terminated without justification.
 4
            18.       Affected members are devastated about losing their livelihoods and are distressed about
 5
     how they will support themselves and their families to cover their basic needs like housing, healthcare,
 6
     childcare, and other necessary expenses. Many of these members had recently moved to Washington
 7

 8   D.C. at great personal expense to start their careers in the public service and are now left with a great

 9   financial and emotional burden that comes with losing their jobs. Some members’ physical and mental
10   health is threatened with the loss of healthcare coverage due to the terminations, including a member
11
     who was diagnosed with cancer the day after being terminated. Some members are veterans who were
12
     transitioning to federal service after serving in the military, and are now being terminated. Some
13
     members were hired through the highly competitive Presidential Management Fellow program that
14

15   helps recruit future leaders in government, but were summarily terminated as probationary employees.

16   Some members sacrificed their careers in the private sector or positions as government contractors to

17   work as civilian federal employees and use their expertise for the benefit of the public, but are now left
18   without a job.
19
            19.       Affected employees are also very confused and anxious because the perfunctory
20
     termination notices base their termination on “performance” without any specific examples or
21
     individualized justifications. Not one of the notices that I have reviewed has included any mention of
22

23   an individualized assessment of the employee’s performance, nor do they include specific examples of

24   any performance issues. In fact, many of the affected employees have indicated, and provided me

25   examples of documents evidencing, that they have received performance reviews, recent
26
     commendations, or other communications from their agencies stating that their performance is
27

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 1   outstanding or that their performance meets expectations, and that their performance has never been

 2   questioned during their probationary period.
 3
            20.     The mass terminations of federal probationary employees have also caused AFSCME
 4
     to lose revenue received from dues paying members because federal employee members pay their dues
 5
     though voluntary payroll dues deductions from their paychecks, and thus the affected members who
 6
     have lost their jobs will no longer be able to pay their dues to the union. This will affect AFSCME’s
 7

 8   ability to provide services to its members and affiliates nationwide, since AFSCME International

 9   receives a per capita share of voluntary member dues paid to AFSCME affiliate unions.
10          21.     The injuries suffered by AFSCME and its members are ongoing or imminent and will
11
     persist unless this Court intervenes.
12
            22.     Membership in AFSCME is voluntary.
13
            23.     AFSCME’s and its subordinate bodies’ leadership is democratically elected by and from
14

15   among its membership.

16          24.     AFSCME’s activities and staff are funded through our members’ voluntary dues, which

17   are established by the AFSCME International Constitution and based on the percentage of hours
18   worked for part-time or full-time members.
19
            25.     If OPM had publicly disclosed its intention to order agencies to discharge probationary
20
     employees en masse and put that program out to notice-and-comment rulemaking, the Union would
21
     absolutely have commented. AFSCME regularly comments on rulemaking involving federal
22

23   employees. We would have weighed in to explain the myriad ways this program violates the law, and

24   to explain the adverse effects on government services and the federal workforce, among other

25   things. The government’s failure to provide advance notice and lack of transparency prevented us from
26
     performing our statutory duty.
27

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 1           I declare under penalty of perjury under the laws of the United States that the foregoing is true
 2   and correct. Executed this 22nd day of February 2025 in Washington, DC.
 3

 4
                                                                                                         Kory Blake
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